                        Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 1 of 14
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                                                                                             June 2, 2016

Christopher John Purpura
Purpura & Purpura
8 E Mulberry St.
Baltimore, Maryland 21202

                 Re:                  Robert Chesser _ TFM-J (P- 0337

Dear Mr. Purpura:

        This letter, together with the Sealed Supplement, confinns the plea agreement that has
been offered to the Defendant by the United States Attorney's Office for the District of Maryland
("this Office"). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by .June 9, 2016, it will be deemed
withdrawn. The terms of the agreement are as follows:

                                                          Offense of Conviction

        1.       The Defendant agrees to plead guilty to a one Count Infonnation charging him
with conspiracy to commit mail fraud, in violation of 18 U.S.C. S 1349. The Defendant admits
that he is, in fact, guilty of that offense and will so advise the Court.

                                                        Elements of the Offense

       2.     The elements of the offense to which the Defendant has agreed to plead guilty,
and which the Government would have proven if the case had gone to trial, are as follows:

                         a. The Defendant and at least one other person entered into an unlawful agreement:

                         b. The purpose of the agreement was to knowingly execute or attempt to execute a
                            scheme and artifice to defraud or to obtain money by means of materially false
                            and fraudulent pretenses, representations and promises, as charged in the
                            Information;

                         c. The Defendant knowingly and willfully became a member of the conspiracy.
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 2 of 14

                                             Penalties

         3.     The maximum sentence provided by statute for the offense to which the
 Defendant is pleading guilty is twenty (20) years of imprisonment, a fine of not more than
 $250,000, or twice the gross gain or loss derived or resulting from the offense, whichever is
greater, and a term of supervised release of up to three (3) years. In addition, the Defendant must
pay $100 as a special assessment pursuant to 18 U.S.C. 9 3013, which will be due and should be
paid at or before the time of sentencing. This Court may also order him to make restitution
pursuant to 18 U.S.C. 99 3663, 3663A, and 3664.1 If a fine or restitution is imposed, it shall be
payable immediately, unless, pursuant to 18 U.S.C. 9 3572(d), the Court orders otherwise. The
Defendant understands that if he serves a term of imprisonment, is released on supervised
release, and then violates the conditions of his supervised release, his supervised release could be
revoked - even on the last day of the term - and the Defendant could be returned to custody to
serve another period of incarceration and a new term of supervised release. The Defendant
understands that the Bureau of Prisons has sole discretion in designating the institution at which
the Defendant will serve any term of imprisonment imposed.

                                         Waiver of Rights

        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

           a. If the Defendant had persisted in his plea of not guilty, he would have had the
              right to a speedy jury trial with the close assistance of competent counsel. That
              trial could be conducted by a judge, without a jury, if the Defendant, this Office,
              and the Court all agreed.

           b. If the Defendant elected a jury trial, the jury would be composed of twelve
              individuals selected from the community. Counsel and the Defendant would have
              the opportunity to challenge prospective jurors. who demonstrated bias or who
              were otherwise unqualified, and would have the opportunity to strike a certain
              number of jurors peremptorily.      All twelve jurors would have to agree
              unanimously before the Defendant could be found guilty of any count. The jury
              would be instructed that the Defendant was presumed to be innocent, and that
              presumption could be overcome only by proof beyond a reasonable doubt.

           c. If the Defendant went to trial, the government would have the burden of proving
              the Defendant guilty beyond a reasonable doubt. The Defendant would have the
              right to confront and cross-examine the government's witnesses. The Defendant
              would not have to present any defense witnesses or evidence whatsoever. If the



               Pursuant to 18 U.S.C. 9 3612, if the Court imposes a fine in excess of$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. 93612(t)(3).

                                                 2
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 3 of 14

               Defendant wanted to call witnesses in his defense, however, he would have the
               subpoena power of the Court to compel the witnesses to attend.

           d. The Defendant would have the right to testify in his own defense if he so chose,
              and he would have the right to refuse to testify. If he chose not to testify, the
              Court could instruct the jury that they could not draw any adverse inference from
              his decision not to testify.

           e. If the Defendant were found guilty after a trial, he would have the right to appeal
              the verdict and the Court's pretrial and trial decisions on the admissibility of
              evidence to see if any errors were committed which would require a new trial or
              dismissal of the charges against him.        By pleading guilty, the Defendant
              knowingly gives up the right to appeal the verdict and the Court's decisions.

           f. By pleading guilty, the Defendant will be giving up all of these rights, except the'
              right, under the limited circumstances set forth in the "Waiver of Appeal"
              paragraph below, to appeal the sentence. By pleading guilty, the Defendant
              understands that he may have to answer the Court's questions both about the
              rights he is giving up and about the facts of his case. Any statements the
              Defendant makes during such a hearing would not be admissible against him
              during a trial except in a criminal proceeding for perjury or false statement.

           g. If the Court accepts the Defendant's plea of guilty, there will be no further trial or
              proceeding of any kind, and the Court will find him guilty.

           h. By pleading guilty, the Defendant may also be giving up certain valuable civil
              rights and may be subject to deportation or other loss of immigration status. The
              Defendant recognizes that if he is not a citizen of the United States, pleading
              guilty may have consequences with respect to his immigration status. Under
              federal law, conviction for a broad range of crimes can lead to adverse
              immigration consequences, including automatic removal from the United States.
              Removal and other immigration consequences are the subject of a separate
              proceeding, however, and the Defendant understands that no one, including his
              attorney or the Court, can predict with certainty the effect of a conviction on
              immigration status. Defendant nevertheless affirms that he wants to plead guilty
              regardless of any potential immigration consequences.

                             Advisory Sentencing Guidelines Apply

        5.     The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. SS 3551-3742 (excepting 18 U.S.C. SS 3553(b)(I) and 3742(e))
and 28 U.S.c. SS 991 through 998. The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.


                                                3
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 4 of 14

                           Factual and Advisory Guidelines Stipulation

        6.      This Office and the Defendant understand, agree, and stipulate to the Statement of
Facts set forth in Attachment A hereto, which this Office would prove beyond a reasonable
doubt, and to the following applicable sentencing guidelines factors:

           a. Pursuant to U. S.S.G.   S 2B l.l   (a)(I), the Base Offense Level for this
              offense is 7.

           b. Pursuant to U.S.S.G. S 2Bl.I (b)(I)(L), the Base Offense Level is
              increased by 22 levels because the loss was between $25,000,000
              and $65,000,000.

           c. Pursuant to U.S.S.G. S 2Bl.l(b)(2)(A), the Base Offense Level is
              increased 2 levels because the offense involved 10 or more
              victims.

           d. Pursuant to U.S.S.G. S 2Bl.l(b)(l0)(C),   the Base Offense Level is
              increased 2 levels because the offense involved sophisticated
              means and the defendant intentionally engaged in or caused the
              conduct constituting sophisticated means.

           e. This Office does not oppose a 2 level reduction in the Defendant's
              adjusted offense level, based upon the Defendant's apparent
              prompt recognition and affirmative acceptance of personal
              responsibility for his criminal conduct. This Office agrees to make
              a motion pursuant to U.S.S.G. S 3El.l(b) for an additional I level
              decrease in recognition of the Defendant's timely notification of
              his intention to plead guilty.

           f.   This Office may oppose any adjustment for acceptance of
                responsibility if the Defendant (a) fails to admit each and every
                item in the factual stipulation; (b) denies involvement in the
                offense; (c) gives conflicting statements about his involvement in
                the offense; (d) is untruthful with the Court, this Office, or the
                United States Probation Office; (e) obstructs or attempts to
                obstruct justice prior to sentencing; (f) engages in any criminal
                conduct between the date of this agreement and the date of
                sentencing; or (g) attempts to withdraw his plea of guilty.

       Accordingly, the resulting adjusted offense level, after reduction for
acceptance, is 30.

        7.      The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a


                                                    4
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 5 of 14

career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

        8.      This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute.

                                       18 U.S.c. ~ 3553(a)

         9.      This Office and the Defendant agree that both parties reserve the right to argue
that this Court should sentence the Defendant to a variant sentence outside of the advisory
guidelines range determined by the Court. This Office and the Defendant stipulate and agree that
if either party intends to argue, pursuant to 18 U.S.C. ~ 3553(a), that the sentence in this case
should fall outside of the advisory guidelines range based on any factor, that party will notify
opposing counsel at least 14 days in advance of sentencing of the facts or issues the party intends
to raise. If the party seeking the non-guideline sentence fails to provide timely notice of the
intent to argue for a sentence outside the advisory guidelines range, that party will withdraw the
3553(a) arguments or consent to a continuance of the sentencing date.

              All Relevant Information May Be Brought To The Court's Attention

        10.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
defendant's background, character and conduct, including uncharged conduct.

                               Collection of Financial Obligations

        II.     The Defendant expressly authorizes the U.S. Attorney's Office to obtain a credit
report in order to evaluate the Defendant's ability to satisfy any financial obligation imposed by
the Court. In order to facilitate the collection of financial obligations to be imposed in
connection with this prosecution, the Defendant agrees to disclose fully all assets in which the
Defendant has any interest or over which the Defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party. The Defendant will promptly
submit a completed financial statement to the United States Attorney's Office, in a form this
Office prescribes and as it directs. The Defendant promises that the financial statement and
disclosures will be complete, accurate and truthful, and understands that any willful falsehood on
the financial statement will be a separate crime and may be punished under 18 U.S.C. ~ 1001 by
an additional five years' incarceration and fine.




                                                5
           Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 6 of 14

                                              Restitution

          12.    The Defendant agrees to the entry of a Restitution Order for the full amount of the
victims' actual losses in connection with the conspiracy fraud scheme to which the Defendant is
pleading guilty. The parties stipulate that the amount of the restitution is at least $58,287,849.
The Defendant agrees that, pursuant to 18 U.S.C. 99 3663 and 3663A and 99 3563(b)(2) and
3583(d), the Court may order restitution of the full amount of the actual, total loss caused by the
offense conduct set forth in the factual stipulation. The Defendant further agrees that he will
fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
information, including but not limited to copies of all relevant bank and financial records,
regarding the current location and prior disposition of all funds obtained as a result of the
criminal conduct set forth in the factual stipulation. The Defendant further agrees to take all
reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it will be considered a material breach
of this plea agreement, and this Office may seek to be reliev.ed of its obligations under this
agreement.
                                              Forfeiture

         13.     The Defendant understands that the Court will, upon acceptance of his guilty plea,
enter an order of forfeiture as part of his sentence, and that the order will include assets directly
traceable to his offense, substitute assets and/or a money judgment equal to the value of the
property subject to forfeiture. Specifically, as a consequence of the Defendant's plea of guilty to
the Information charging a violation of 18 U.S.C. 9 1349, the Court will order the forfeiture of
all property, real or personal, which constitutes or is derived from proceeds traceable to the
scheme to defraud. The property to be forfeited includes but is not limited to, a sum of money
equal to the proceeds of the scheme to defraud foreseeable to the Defendant, which amount the
parties stipulate is at least $58,287,849. The Defendant agrees to consent to the entry of orders
of forfeiture for such property and waives the requirements of Federal Rules of Criminal
Procedure II(b)(l)(J),      32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

                        Assisting the Government with Regard to Forfeiture

         14.    The Defendant agrees to assist fully in the forfeiture of the foregoing assets. The
Defendant agrees to disclose all of his assets and sources of income to the United States, and to
take all steps necessary to pass clear title to the forfeited assets to the United States, including but
not limited to executing any and all documents necessary to transfer such title, assisting in
bringing any assets located outside of the United States within the jurisdiction of the United
States, and taking whatever steps are necessary to ensure that assets subject to forfeiture are not
sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. The Defendant also
agrees to give this Office permission to request and review his federal and state income tax
returns, and any credit reports maintained by any consumer credit reporting entity, until such
time as the money judgment is satisfied. In this regard, the Defendant agrees to complete and
sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax return
information) as well as whatever disclosure form may be required by any credit reporting entity.
                                                   6
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 7 of 14


                             Waiver of Further Review of Forfeiture

         15.     The Defendant further agrees to waive all constitutional, legal and equitable
challenges (including direct appeal, habeas corpus, or any other means) to any forfeiture carried
out in accordance with this plea agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The Defendant also agrees not to challenge or seek
review of any civil or administrative forfeiture of any property subject to forfeiture under this
agreement, and will not assist any third party with regard to such challenge or review or with
regard to the filing of a petition for remission of forfeiture.

                               Collection of Financial Obligations

        16.     The Defendant expressly authorizes the U.S. Attorney's Office to obtain a credit
report in order to evaluate the Defendant's ability to satisfy any financial obligation imposed by
the Court. In order to facilitate the collection of financial obligations to be imposed in
connection with this prosecution, the Defendant agrees to disclose fully all assets in which the
Defendant has any interest or over which the Defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party. The Defendant will promptly
submit a completed financial statement to the United -States Attorney's Office, in a form this
Office prescribes and as it directs. The Defendant promises that the financial statement and
disclosures will be complete, accurate and truthful, and understands that any willful falsehood on
the financial statement will be a separate crime and may be punished under 18 U.S.C. S 1001 by
an additional five years' incarceration and fine.

                                        Waiver of Appeal

        17.    In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

           a. The Defendant knowingly waives all right, pursuant to 28 U.S.C.          S   1291, or
              otherwise, to appeal the Defendant's conviction;

           b. The Defendant and this Office knowingly waive all right, pursuant to 18 U.S.C. S
              3742 or otherwise, to appeal whatever sentence is imposed (including the right to
              appeal any issues that relate to the establishment of the advisory guidelines range,
              the determination of the Defendant's criminal history, the weighing of the
              sentencing factors, and the decision whether to impose and the calculation of any
              term of imprisonment, fine, order of forfeiture, order of restitution, and term or
              condition of supervised release);

           c. Nothing in this agreement shall be construed to prevent the Defendant or this
              Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a),
              or from appealing from any decision thereunder, should a sentence be imposed
              that resulted from arithmetical, technical, or other clear error; and

                                                7
          Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 8 of 14

            d. The Defendant waives any and all rights under the Freedom of Information Act
               relating to the investigation and prosecution of the above-captioned matter and
               agrees not to file any request for documents from this Office or any investigating
               agency.

                              Obstruction or Other Violations of Law

         18.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. S 3Cl.l, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant's obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

                                         Court Not a Party

         19.    The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the Court is under no obligation
to accept this Office's recommendations, and the Court has the power to impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the Defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the Defendant will receive. The Defendant agrees that no one has made such a
binding prediction or promise.
                                          Entire Agreement

        20.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
                                                  8
                Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 9 of 14

plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and addendum and none will be entered into unless in writing and signed
by all.parties.

       If the Defendant fully accepts each and every term and condition of this letter, please sign
and have the Defendant sign the original and return it to me promptly.

                                                       Rod J. Rosenstein
                                                       United States Attorney




                                                        ean R. Delaney
                                                       Harry M. Gruber
                                                       Assistant United St

        I have read this agreement and carefully reviewed every part 0 it with my attorney. I
understand it, and I voluntarily agree to it. Specifically, I have reviewed the Factual and
Advisory Guidelines Stipulation with my attorney, and I do not wish to change any part of it. I
understand this plea agreement, and I voluntarily agree to it. I am completely satisfied with the
representation of my attorney.

&/Le
Date!
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        I am Mr. Chesser's attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that          erstands and accepts its
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Date
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         Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 10 of 14

                                       ATTACHMENT A

                                  FACTUAL STIPULATION

        It is agreed and stipulated that were the Government to proceed to trial in this case, it
would prove, beyond a reasonable doubt, by admissible testimonial and documentary evidence,
the guilt of the Defendant on the charge of conspiracy to commit mail fraud, in violation of 18
U.S.C.91349.

        The Defendant agrees to the truth of the summary of evidence set forth below and
acknowledges that it does not represent all the evidence the Government would have produced
had the case proceeded to trial.

Overview Of The Offense Conduct:

         From in 'or about at least 2010 through in or about July 2014, in the District of Maryland
and elsewhere, Chesser did knowingly and willfully conspire, confederate, and agree with others
known and unknown ("the Midway co-conspirators") to commit mail fraud, that is to knowingly
and willfully devise and intend to devise a scheme and artifice to defraud and to obtain money
and property from various businesses, by means of materially false and fraudulent pretenses,
representations, and promises regarding light bulb and cleaning supply orders ("the scheme to
defraud"), and for the purpose of executing and attempting to execute such scheme to defraud,
did knowingly cause to be delivered by United States mail and by any private and commercial
interstate carrier any matter and thing, according to the direction thereon, in violation of 18
U.S.C.9 1341. It was the object of the conspiracy and scheme to defraud that Chesser and the
Midway co-conspirators obtained money from thousands of victim businesses by deceiving the
businesses' authorized representatives into paying exorbitant prices for light bulbs and cleaning
supplies, as well as paying for products that the businesses never ordered.

         The Midway co-conspirators created and caused to be created various shell entities with
no legitimate purpose, including Commercial Industries, LLC, Environmental Industries, LLC,
Essex Industries, LLC, Hansen Supply, LLC, Johnson Distributing, LLC, Mid-Atlantic
Industries, LLC, National, LLC, Standard Industries, LLC, State Power and Electric, LLC, State
Power and Lighting, LLC (collectively the "Shell Entities"). From in or about 2008 through in
or about July 2014, Chesser and the Midway co-conspirators made and caused to be made phone
calls to victim businesses purportedly on behalf of various individual Shell Entities. In those
phone calls to victim businesses, Chesser and the Midway co-conspirators sought to conceal
Midway's true locations in Reisterstown, Maryland, as well as in Florida, and avoid in person
contact with victim businesses. Chesser and the Midway co-conspirator used Post Office boxes
throughout Maryland to cause the victim businesses to believe that each company was a different
and unrelated company.




                                                10
         Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 11 of 14

Additional Details About The Sales Calls:

        Chesser began work at Midway as a cold call sales manager in 2008, but worked on and
off at Midway over the course of the next several years. Chesser had previously worked as a
telemarketer selling light bulbs and cleaning in other companies.

        As part of his job in the cold call department, Chesser and the Midway 'co-conspirators
used lead sheets to make calls to representatives of the victim businesses with authority to place
an order ("authorized representatives"), who were often maintenance employees.

        In order to obtain money from the victim businesses, Chesser and the Midway co-
conspirators made multiple material false and fraudulent representations, including:

       a. Misrepresenting that the victim business had an existing business relationship with
          Midway;

       b. Misrepresenting that the purpose ofthe phone call was to provide an updated phone
          number, or to send catalogues to the victim business;

       c. Misrepresenting that Midway would send a "half box" of light bulbs along with the
          catalog, when in truth and fact, there was no such thing as a half box and there was no
          catalog;

When making initial calls, Chesser and the Midway co-conspirators        regularly promised Wal-
Mart and other gift cards to authorized representatives to induce the   authorized representatives to
place initial orders and to provide Midway with additional company      information or personal
information, such as the authorized representatives' home addresses     and personal phone
numbers.

        Throughout the sales process, Chesser and the Midway co-conspirators avoided
divulging the price of any products to victim businesses by engaging in a practice called the
"price blow-off," in which they falsely stated that they did not have the price in front of them,
but that it would be at the corporate discount. In truth and fact, Midway did not offer a corporate
discount.

Price Markups and Collections

        The Midway co-conspirators obtained light bulbs and cleaning supplies from Company
A, which was located in New Jersey. At the Midway co-conspirators' instruction, Company A
shipped light bulbs and cleaning supplies to the victim businesses without an invoice. Company
A would send the invoice directly to Midway and the Midway co-conspirators. The Midway co-
conspirators then caused invoices to be sent to the billing departments of the victim businesses,
which were often different departments from those of the authorized representatives, for amounts
greatly inflated from the amounts charged by Company A. For example, these invoices were
regularly 900% above the prices Midway paid Company A for the same light bulbs and cleaning

                                                II
         Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 12 of 14

supplies. The Midway co-conspirators set the markup to extract as much money as possible
without the victim businesses discontinuing the payments.

        The Midway co-conspirators in the collections department received calls from victim
businesses or called directly victim businesses in order to force the victim businesses to pay the
overly-inflated invoices sent to them by Midway. Midway co-conspirators in the collections
department made additional false and fraudulent representations to victim businesses, including:

    a. Misrepresenting that an order had actually been placed with Midway, and falsely using as
       proof of an order that the authorized representative had received a gift card, or provided
       his home address and personal phone number;

    b. Misrepresenting that the product shipped to the victim business had been on back order;

    c. Misrepresenting that the shipment was a re-shipment of a previously-damaged      shipment;

    d. Misrepresenting that the shipment was the completion of the order; and

    e. Misrepresenting that no other products would be sent to the victim business.

         In the event victims threatened to contact law enforcement or the Better Business Bureau,
Midway co-conspirators in the collection department offered to revise the invoice to a discounted
rate or, on occasion, to.take back a product for a "re-stocking fee," either of which were
substantially greater than the cost of the products purchased from Company A.

Re-Orders:

        In or about 2012 or 2013, Chesser was promoted to the re-order department at Midway,
where he remained until July 2014. If a victim company paid a Midway invoice, Chesser and
the Midway co-conspirators placed subsequent sales calls to the victim businesses. On the
subsequent calls, Chesser and the Midway co-conspirators made additional false representations,
including:

   a. Misrepresenting that the "completion" or "balance" of the victim business' order had
      recently been shipped, despite no order having yet been made by the victim business, and
      no actual shipment having yet been sent;

   b. Misrepresenting that the victim business' "regular seasonal order" had recently been
      shipped, despite no order having yet been made by the victim business, and no actual
      shipment having yet been sent.

        Chesser and the Midway co-conspirators would regularly call authorized representatives
and continue providing false information -- so long as the victim businesses continued paying
Midway's invoices. If a victim business paid the original Midway invoice, the Midway co-
conspirators then sent and caused to be sent invoices to that victim business that were sometimes

                                                12
         Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 13 of 14

greater than 8,000% above the prices Midway paid Company A for the same light bulbs and
cleaning supplies.

        The Midway co-conspirators also called authorized representatives on behalf of a
different Shell Entity in order to repeat the process using cleaning supplies, rather than light
bulbs.                        •.

Just Shipping:

        In addition to the fraudulent sales techniques described above, Chesser and the Midway
co-conspirators engaged in a sales practice referred to as a "just ship," or "J/S," which Chesser
understood to involve just sending a product to a victim business, sending an inflated invoice,
and demanding payment - even though the victim business had not been contacted by anyone
from Midway or the Shell Entities. In other words, in re-orders, the Midway co-conspirators
would make up orders that had not been made andlor engage in misrepresentations to induce
another sale; in a just ship, they would send materials to customers who had never been
contacted about the order at all. This practice was also commonly referred to as "taking a shot."

        On multiple occasions, when Chesser and the Midway co-conspirators learned that the
authorized representative at a victim company had quit, been fired, or even passed away, they
caused a product and inflated invoice to be sent to the victim company knowing that the
company would be unable to dispute the validity of the order. This practice was referred to by
the Midway co-conspirators as a "down the road."


The Financial Impact:

       Between 20 I 0 and 2014, Midway sent fraudulent invoices to victim companies for more
than $100,000,000, and received more than $50,000,000 in payments on those invoices.
Chesser received up to $96,000 per year in annual salary.




                                                 13
            Case 1:16-cr-00337-JKB Document 8 Filed 07/06/16 Page 14 of 14

The Mailings:

         In furtherance of the conspiracy and for the purpose of executing the scheme to defraud,
Chesser and the Midway co-conspirators, in the District of Maryland and elsewhere, did
knowingly cause to be delivered by United States mail and by any private and commercial
interstate carrier any matter and thing, according to the direction thereon, including:


        DATE                                         DESCRIPTION


4/30/2014                Invoice from State Power & Lighting in Maryland mailed to Victim
                         Business #1 in Smyrna, Georgia, for $1,627.71 in light bulbs ordered
                         from Company A with a cost of$72.82


4/30/2014                Invoice from Standard Industries In Maryland mailed to Victim
                         Business #2 in Kalamazoo, Michigan, for $1,635.01 in cleaning supplies
                         ordered from Company A, with a cost of$59.32


         I have reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I
do not wish to change any part of it. I understand it, and I voluntarily agree to it. I acknowledge
that it is true and correct. I am completely satisfied with the representation of my attorney.


                                                                     c::     ?'




1 am Robert Chesser's attorney.



D:~\(P                                               Christopher John Purpur      "q.




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